           24-51135-cag Doc#1 Filed 06/20/24 Entered 06/20/24 08:56:53 Main Document Pg 1 of 17

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                             Western District of Texas

 Case number (if known):                                            Chapter     11                                                     ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              DP Auto Sales, Ltd


    2. All other names debtor used                Byrider
       in the last 8 years
                                                  JD Byrider
     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  4       1 – 2    0   6    6   9    5   0
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business




                                                   511 W French Pl
                                                   Number          Street                                      Number        Street

                                                   San Antonio, TX 78212
                                                   City                                  State   ZIP Code      City                              State      ZIP Code

                                                                                                               Location of principal assets, if different from principal
                                                   Bexar                                                       place of business
                                                   County
                                                                                                               TX 109

                                                                                                               3216 Sw Military Dr
                                                                                                               Number        Street

                                                                                                               San Antonio, TX 78211-3618
                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:




Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
          24-51135-cag Doc#1 Filed 06/20/24 Entered 06/20/24 08:56:53 Main Document Pg 2 of 17

Debtor      DP Auto Sales, Ltd                                                                                  Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                   4      4     1    1

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑ Chapter 9
     debtor” must check the first subbox. A     ✔ Chapter 11. Check all that apply:
                                                ❑
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V          ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                        noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                            operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                       ✔ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                       ❑
                                                              debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                              proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                              balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                       ❑ A plan is being filed with this petition.
                                                       ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                              accordance with 11 U.S.C. § 1126(b).
                                                       ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                              Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                              (Official Form 201A) with this form.
                                                       ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                       When                    Case number
                                                                                                             MM / DD / YYYY
     If more than 2 cases, attach a                       District                                     When                    Case number
     separate list.
                                                                                                              MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes. Debtor                                                                 Relationship

     List all cases. If more than 1, attach a             District                                                             When
     separate list.                                                                                                                          MM / DD / YYYY
                                                          Case number, if known



Official Form 201                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
            24-51135-cag Doc#1 Filed 06/20/24 Entered 06/20/24 08:56:53 Main Document Pg 3 of 17

Debtor        DP Auto Sales, Ltd                                                                         Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:
      district?
                                      ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      ❑
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                      ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have     ✔ No
                                      ❑
      possession of any real
      property or personal property
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?                                ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑ It needs to be physically secured or protected from the weather.
                                                ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ❑ Other
                                                Where is the property?
                                                                          Number        Street




                                                                          City                                         State    ZIP Code
                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes.        Insurance agency
                                                              Contact name
                                                              Phone


          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ✔ Funds will be available for distribution to unsecured creditors.
                                      ❑
                                      ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                         creditors.

         14. Estimated number of       ❑ 1-49 ❑ 50-99                     ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                 ✔ 100-199 ❑ 200-999
                                       ❑                                  ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets          ❑ $0-$50,000                          ✔ $1,000,001-$10 million
                                                                             ❑                                         ❑ $500,000,001-$1 billion
                                       ❑ $50,001-$100,000                    ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                       ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                       ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3
            24-51135-cag Doc#1 Filed 06/20/24 Entered 06/20/24 08:56:53 Main Document Pg 4 of 17

Debtor        DP Auto Sales, Ltd                                                                               Case number (if known)
             Name



                                            ❑ $0-$50,000                              ✔ $1,000,001-$10 million
                                                                                      ❑                                        ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑ $10,000,001-$50 million                ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                       ❑ $50,000,001-$100 million               ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                     ❑ $100,000,001-$500 million              ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on     06/20/2024
                                                                   MM/ DD/ YYYY



                                               ✘ /s/ Jody Anderson                                                                  Jody Anderson
                                                   Signature of authorized representative of debtor                 Printed name



                                                   Title                       President



         18. Signature of attorney
                                               ✘                    /s/ Ronald Smeberg                              Date      06/20/2024
                                                   Signature of attorney for debtor                                           MM/ DD/ YYYY




                                                    Ronald Smeberg
                                                   Printed name


                                                    The Smeberg Law Firm
                                                   Firm name


                                                    4 Imperial Oaks
                                                   Number          Street


                                                    San Antonio                                                        TX              78248-1609
                                                   City                                                               State            ZIP Code



                                                    (210) 695-6684                                                      ron@smeberg.com
                                                   Contact phone                                                       Email address



                                                    24033967                                                            TX
                                                   Bar number                                                          State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
            24-51135-cag Doc#1 Filed 06/20/24 Entered 06/20/24 08:56:53 Main Document Pg 5 of 17

 Fill in this information to identify the case:

 Debtor name                             DP Auto Sales, Ltd

 United States Bankruptcy Court for the:
                             Western District of Texas

 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                          12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     1800 Radiator                                                                                                                                                $33,306.36
      5005 West Ave Ste 1200
      San Antonio, TX 78213-2711


2     ALANIS WRECKER SERVICE                                                                                                                                       $56,953.66
      1035 Culebra Rd
      San Antonio, TX 78201-6120


3     American Express                                                                                                                                            $114,583.59
      P.O. Box 981537
      El Paso, TX 79998


4     AMERICAN MOTORS                                                                                                                                              $42,500.00
      5418 E Ih 10
      San Antonio, TX 78219-4503


5     AMERICAS AUTO AUCTION                                                                                                                                        $63,810.00
      16611 S Ih 35
      Buda, TX 78610-9639


6     ASSURED AUTO PARTS, INC                                                                                                                                      $32,813.00
      11715 State Highway 16 S
      San Antonio, TX 78224-3027


7     Auto Zone                                                                                                                                                   $408,144.95
      San Antonio Regional Office
      8611 Perrin Beitel Rd
      San Antonio, TX 78217-4818

8     BIG O TIRE                                                                                                                                                   $31,178.93
      ATTN Accounts Receivable
      415 Military E
      Benicia, CA 94510-2812



Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
            24-51135-cag Doc#1 Filed 06/20/24 Entered 06/20/24 08:56:53 Main Document Pg 6 of 17

Debtor       DP Auto Sales, Ltd                                                                               Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9     BYRIDER FRANCHISING                                                                                                                                $166,504.87
      12802 Hamilton Crossing Blvd
      Carmel, IN 46032-5424


10 DPR INVESTMENTS, LTD                                                                                                                                  $420,000.00
   511 W French Pl
   San Antonio, TX 78212-3608


11 EMBASSY COLLISION                                                                                                                                      $117,239.87
   1423 Brady Blvd
   San Antonio, TX 78237-4308


12 FORESIGHT SERVICES GROUP,                                                                                                                               $29,914.81
   INC.
      ATTN: THOMAS
      2250 Bush Dr
      Mckinney, TX 75070-7556
13 GIANT IMPORTS                                                                                                                                           $48,200.00
   9592 New Laredo Hwy
   San Antonio, TX 78211-5502


14 HATIMI AUTO LLC                                                                                                                                         $58,900.00
   1645 Main St Ste D Pmb 34
   Buda, TX 78610-5044


15 K H Complete Advertising Co                                                                                                                             $45,771.89
   8888 Fitness Ln
   Fishers, IN 46037-8231


16 KATZ, SAPPER & MILLER                                                                                                                                   $38,000.00
   Department 235
   Po Box 7096
   Indianapolis, IN 46207-7096

17 Manheim (San Antonio)                                                                                                                                   $51,020.00
   6325 Peachtree Dunwoody Road
   NE
   Atlanta, GA 30328

18 SPIREON INC                                                                                                                                             $73,555.09
   18881 Von Karman Ave Ste 1500
   Irvine, CA 92612-1582


19 ULTRA FLEET SERVICE                                                                                                                                    $118,568.68
   943 Lee Trevino
   San Antonio, TX 78221-3237


20 XL Parts LLC                                                                                                                                            $63,380.14
   2527 Willowbrook Rd.
   Dallas, TX 75220

Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
  24-51135-cag Doc#1 Filed 06/20/24 Entered 06/20/24 08:56:53 Main Document Pg 7 of 17

                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                       WESTERN DISTRICT OF TEXAS
                                                          SAN ANTONIO DIVISION

IN RE: DP Auto Sales, Ltd                                                             CASE NO

                                                                                      CHAPTER 11




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date     06/20/2024             Signature                                /s/ Jody Anderson
                                                                        Jody Anderson, President
      24-51135-cag Doc#1 Filed 06/20/24 Entered 06/20/24 08:56:53 Main Document Pg 8 of 17


1800 Radiator                     1914 TRADING CO. LLC                   24 Seven Security
5005 West Ave Ste 1200            2619 Ackerman Rd                       3403 73rd St # 2
San Antonio, TX 78213-2711        San Antonio, TX 78219-2117             Lubbock, TX 79423-1101




7ELEVEN SPEEDWAY - WEX            AAP FINANCIAL SERVICES                 ACV AUCTIONS INC
BANK                              c/o ADVANCE AUTO PARTS                 640 Ellicott St Ste 108
Po Box 6293                       PO BOX 742063                          Buffalo, NY 14203-1252
Carol Stream, IL 60197-6293       Atlanta, GA 30374



ADESA - SAN ANTONIO               ADESA Birmingham                       ADESA-AUSTIN
200 S Callaghan Rd                804 Sollie Dr                          COLLECTIONS DEPT.
San Antonio, TX 78227-1547        Moody, AL 35004-3016                   2108 Ferguson Ln
                                                                         Austin, TX 78754-4514



ADT Security Services LLC         AFC - AUTOMOTIVE FINANCE               ALANIS WRECKER SERVICE
ATTN Bankruptcy Processing        CO                                     1035 Culebra Rd
452 Sable Blvd G                  200 S Callaghan Rd                     San Antonio, TX 78201-6120
Aurora, CO 80011-0812             San Antonio, TX 78227-1547



ALGAR, INC.                       ALLDATA                                Amazon Corporate
DBA GRADE A ALLSTATE AUTO PARTS   9650 W Taron Dr # 100                  Headquarters
7301 Grade Ln                     Elk Grove, CA 95757-8197               410 Terry Ave N
Louisville, KY 40219-3403                                                Seattle, WA 98109-5210



American Express                  AMERICAN LUBE SUPPLY                   AMERICAN MOTORS
P.O. Box 981537                   8165 Whisper Oak                       5418 E Ih 10
El Paso, TX 79998                 San Antonio, TX 78266-4411             San Antonio, TX 78219-4503




AMERICAN RISK SERVICES            American Tire Distributors,            AMERICAS AUTO AUCTION
1130 Congress Ave                 Inc.                                   16611 S Ih 35
Cincinnati, OH 45246-4484         12200 Herbert Wayne Ct Ste 150         Buda, TX 78610-9639
                                  Huntersville, NC 28078-6397



AMERICA'S HOUSTON                 ANCIRA KIA IH10                        ANCIRA VW KIA
1826 Almeda Genoa Rd              10807 W Interstate 10                  6125 Bandera Rd
Houston, TX 77047-4420            San Antonio, TX 78230-1301             San Antonio, TX 78238-1643




ANCIRA WINTON CHEVROLET           APEX AUTOMOTIVE GROUP                  ASSURED AUTO PARTS, INC
Po Box 29719                      LLC                                    11715 State Highway 16 S
San Antonio, TX 78229-0719        1950 E Greyhound Pass Ste 18 Pmb 221   San Antonio, TX 78224-3027
                                  Carmel, IN 46033



ATMOS ENERGY                      Auto Zone                              BARCOM TECHNOLOGY
Po Box 740353                     San Antonio Regional Office            SOLUTIONS
Cincinnati, OH 45274-0353         8611 Perrin Beitel Rd                  10443 Gulfdale St Ste 101
                                  San Antonio, TX 78217-4818             San Antonio, TX 78216-4117
      24-51135-cag Doc#1 Filed 06/20/24 Entered 06/20/24 08:56:53 Main Document Pg 9 of 17


Bayeh Automotive, Inc            BAYEH'S AUTOMOTIVE                Bexar County Tax Collector
552 New Laredo Hwy               552 New Laredo Hwy                attn:Don Stecker
San Antonio, TX 78211-1967       San Antonio, TX 78211-1967        Linebarger Googan
                                                                   112 E Pecan St Ste 2200
                                                                   San Antonio, TX 78205-1588


BIG O TIRE                       Big Time Advertising &            BROTHERS AUTO PARTS
ATTN Accounts Receivable         Marketing, LLC                    8403 New Laredo Hwy
415 Military E                   732 Crown Industrial Ct Ste N     San Antonio, TX 78211-5102
Benicia, CA 94510-2812           Chesterfield, MO 63005-1166



Bryan Esterline                  BYRIDER FRANCHISING               Byrider San Antonio West
dba JCT Automotive LLC           12802 Hamilton Crossing Blvd      6226 Bandera Rd
1965 Blue Stone Ln               Carmel, IN 46032-5424             San Antonio, TX 78238-1630
Commerce Twp, MI 48390-4306



C & C Mobile Carwash             CALLIS PROFESSIONAL               CAR KEYS EXPRESS
6114 75th St                     SERVICES LLC                      Po Box Box 775714
Lubbock, TX 79424-1939           DBA JAN-PRO OF SA                 Chicago, IL 60677-0001
                                 Po Box 781696
                                 San Antonio, TX 78278


CARCARE PROMOTIONS               CARLISLE AUTO AIR                 CAROFFER, LLC
4100 Spring Valley Rd Ste 154    6411 San Pedro Ave                2701 E Plano Pkwy Ste 100
Dallas, TX 75244-3757            San Antonio, TX 78216-7212        Plano, TX 75074




CBIZ Inc. dba CBIZ MHM           CD TIRE AND MUFFLER               CITY OF LUBBOCK ALARM
Indiana                          7250 Bandera Rd                   PERMITS
dba CBIZ Somerset                San Antonio, TX 78238-1137        Po Box Box 2000
Po Box Box 646001                                                  Lubbock, TX 79457-0001
Cincinnati, OH 45264-0001


CITY OF LUBBOCK UTILITIES        COALA ENTERPRISES LLC             COMPLETE FOREIGN AUTO
Po Box 10541                     17803 Dansworth Dr                PARTS #2
Lubbock, TX 79408-3541           Pflugerville, TX 78660-5156       DBA INTERNATIONAL T
                                                                   9809 New Laredo Hwy
                                                                   San Antonio, TX 78211-5506


COMPLYAUTO PRIVACY LLC           CORDOVA AUTO CENTER #4            COX AUTOMOTIVE
Po Box 737540                    3425 Sw Military Dr               6205 Peachtree Dunwoody Rd
Dallas, TX 75373-7540            San Antonio, TX 78211             Atlanta, GA 30328-4524




CPS Energy                       Crystal-Clean                     CT Lien Solutions
Attn: Bankruptcy Section         ATTN Collections                  2929 Allen Pkwy # 100
145 Navarro St Stop 110910       2000 Center Dr Ste East           Houston, TX 77019-7100
San Antonio, TX 78205-2934       Hoffman Est, IL 60192-5005



D&K DISTRIBUTING                 DaHill                            DAVID B SOLIZ
5504 Bandera Rd Ste 410-411      c/o XEROX BUSINESS SOLUTIONS      7415 Fairlawn Dr
San Antonio, TX 78238-1943       SOUTHWEST                         San Antonio, TX 78223-3836
                                 Po Box 205354
                                 Dallas, TX 75320-5354
      24-51135-cag Doc#1 Filed 06/20/24 Entered 06/20/24 08:56:53 Main Document Pg 10 of 17


Document Shredding &              DOMINGO VARA CHEVROLET             Donald R. Mitchell
Storage, LTD                      Po Box 240850                      1724 E Amherst St
Po Box 8468                       San Antonio, TX 78224-0850         Lubbock, TX 79403-4040
Amarillo, TX 79114-8468



DPR INVESTMENTS, LTD              DW LOGISTICS LLC                   eBay Inc.
511 W French Pl                   2915 Britton Dr                    2025 Hamilton Ave
San Antonio, TX 78212-3608        Dallas, TX 75216-4403              San Jose, CA 95125-5904




Elan Financial Services           EMBASSY COLLISION                  EXPERIAN
1255 Corporate Dr # 6             1423 Brady Blvd                    Po Box 841971
Irving, TX 75038-2562             San Antonio, TX 78237-4308         Los Angeles, CA 90084




FIRST CALL AUTO PARTS             Flume Law Firm, LLP                FONALITY, INC
PO Box BOX 790098                 Po Box 17746                       5340 LEGACY DR SUITE 155
Saint Louis, MO 63179             San Antonio, TX 78217-0746         75024




FORESIGHT SERVICES                FP MAILING SOLUTIONS               Full Service Auto Parts Inc-XL
GROUP, INC.                       Po Box 157                         Parts
ATTN: THOMAS                      Bedford Park, IL 60499-0157        4737 Broom St
2250 Bush Dr                                                         San Antonio, TX 78217-3708
Mckinney, TX 75070-7556


Gallagher Promotional             Genuine Parts Co                   GIANT IMPORTS
Products                          Dba-Napa Auto Parts                9592 New Laredo Hwy
655 Florida Central Pkwy          6374 Rittiman Rd                   San Antonio, TX 78211-5502
Longwood, FL 32750-6345           San Antonio, TX 78218-4750



Go Powertrain LLC                 HATIMI AUTO LLC                    HESSELBEIN TIRE CP
6606 Rawley Pike                  1645 Main St Ste D Pmb 34          3003 Ne Loop 289
Hinton, VA 22831-2004             Buda, TX 78610-5044                Lubbock, TX 79403-3928




HOMENET AUTOMOTIVE                IDENTIFIX                          INGRAM PARK CHRYSLER
224 Valley Creek Blvd Ste 300     2714 Patton Rd                     JEEP DODGE INC.
Exton, PA 19341-2300              Saint Paul, MN 55113-1138          4114 Pond Hill Rd Ste 302
                                                                     San Antonio, TX 78231-1273



INGRAM PARK MAZDA                 INGRAM PARK NISSAN                 Internal Revenue Service
6980 Nw Loop 410                  6990 Nw Loop 410                   Po Box 7346
San Antonio, TX 78238-4110        San Antonio, TX 78238-4110         Philadelphia, PA 19101-7346




JACOBS EQUIPMENT DISTR            JAIME A MORENO                     JD BYRIDER ADVERTISING
COMPANY                           dba MORENO'S ELITE AUTOWORKS LLC   12802 Hamilton Crossing Blvd
6223 Us Highway 87 E Ste 1        8901 Highway 87 Unit 125           Carmel, IN 46032-5424
San Antonio, TX 78222-1822        Lubbock, TX 79423-7315
      24-51135-cag Doc#1 Filed 06/20/24 Entered 06/20/24 08:56:53 Main Document Pg 11 of 17


JESUS ALBERTO CELESTINO           Jiffy Lube International, Inc.    JIMMY MOORE
DBA BLUE J PAINT & BODY           Po Box 4427                       4409 75th Dr Apt B
Po Box 681643                     Houston, TX 77210-4427            Lubbock, TX 79424-2365
San Antonio, TX 78268-1643



JOHN GONZALEZ                     JORDAN FORD                       JOSE A ALONSO
DBA GET'EM OUT PEST CONTROL       13010 N Ih 35                     DBA JMJ BUGGY SERVICE
SERVICES                          Live Oak, TX 78233-2614           908 N Zarzamora St
12500 La Bahia                                                      San Antonio, TX 78207-1407
San Antonio, TX 78233-6323


K H Complete Advertising Co       K&M TIRE                          KATZ, SAPPER & MILLER
8888 Fitness Ln                   Po Box 279                        Department 235
Fishers, IN 46037-8231            Delphos, OH 45833-0279            Po Box 7096
                                                                    Indianapolis, IN 46207-7096



KCWX-DT                           KEYSTONE AUTOMOTIVE               KIMBALL MIDWEST
1402 West Ave                     INDUSTRIES                        DEPARTMENT L-2780
Austin, TX 78701-1528             17745 Lookout Rd Ste 100          4800 Roberts Rd
                                  Selma, TX 78154-2188              Columbus, OH 43228-9791



KOFAX, INC. (TUNGSTEN             KPA SERVICES, LLC                 KRISTINA NELSON
AUTOMATION)                       11080 Circle Point Rd Ste 200     1811 Wood Grv
15211 Laguna Canyon Rd            Westminster, CO 80020-2778        San Antonio, TX 78232-4962
Irvine, CA 92618-3146



KWIK KAR LUBE & TUNE              LAWLER MOTOR SPORTS INC           LEXISNEXIS
11715 Oconnor Rd                  631 106th St                      28330 Network Pl
San Antonio, TX 78233-5318        Arlington, TX 76011-5328          Chicago, IL 60673-1283




LIBERTY TIRE RECYCLING,           LKQ AUTO PARTS                    LONE STAR CHRYSLER DODGE
LLC                               Attn Collections                  JEEP
600 River Ave Ste 3               500 W Madison St Ste 2800         8811 Interstate Highway 35 S
Pittsburgh, PA 15212-5994         Chicago, IL 60661-2506            San Antonio, TX 78211-5700



LONE STAR FIRE & FIRST AID        Lubbock County Assessor           Manheim (San Antonio)
449 CULEBRA                       Collector                         6325 Peachtree Dunwoody Road NE
San Antonio, TX 78201             916 Main St. Ste 102              Atlanta, GA 30328
                                  Lubbock, TX 79401



MARIO MARTINEZ                    MARK E RICE                       MATT GILL
DBA STACKING DIMES WELDING LLC    DBA M&S TRANSPORT                 6226 Bandera Rd
515 Anchors Flt                   752 N Main St # 1418              San Antonio, TX 78238-1630
San Antonio, TX 78245-2754        Mansfield, TX 76063-3294



MCCOMBS FORD WEST                 MERRY SANCHEZ                     METLIFE INSURANCE
Po Box Bh003                      1002 Sams Dr                      10579 Palatine
San Antonio, TX 78201-1268        San Antonio, TX 78221-3635        Palatine, IL 60055-0001
      24-51135-cag Doc#1 Filed 06/20/24 Entered 06/20/24 08:56:53 Main Document Pg 12 of 17


MICHEAL R. GEE                    Mike Motors Auto Salvage          Mr. Maid
DBA FLEET WINDSHIELD              9545 New Laredo Hwy               3203 41st St
Po Box 508                        San Antonio, TX 78211-5502        Lubbock, TX 79413-3102
Brownfield, TX 79316-0508



MR. TRANSMISSION                  NEXTGEAR CAPITAL                  NORTH TEXAS TOLLWAY
1560 Austin Hwy                   11799 N College Ave               AUTHORIY
San Antonio, TX 78218-6042        Carmel, IN 46032-5605             Po Box 260928
                                                                    Plano, TX 75026-0928



Occupational Health Centers       OMNISOURCE                        Online Vehicle, Exchange, LLC
of the Southwest, PA              Po Box 205477                     dba DealShield
Po Box 9005                       Dallas, TX 75320-5477             3003 Summit Blvd Fl 200
Addison, TX 75001-9005                                              Brookhaven, GA 30319-1469



O'Reilly Auto Parts -             PARKER LLOYD LUTICH               PK POSSIBILITIES LLC
Corporate Office                  DBA ALL AROUND TOWN LOCKSMITH     DBA JOHNSON'S AUTO GLASS
233 S Patterson Ave               3215 Scarlet Ohara                Po Box 94182
Springfield, MO 65802-2210        San Antonio, TX 78223-4702        Lubbock, TX 79493-4182



Plains Capital Bank               Pop-A-Lock                        Printed Supplies Inc.
740 Ne Loop 410 # 100             Po Box 131809                     10530 Sentinel St
San Antonio, TX 78209             Spring, TX 77393-1809             San Antonio, TX 78217-3822




QUICK VIEW TECHNOLOGIES           RAMIREZ AUTO GLASS                REDLINE TRANSMISSION
DEPT #480                         2703 Commercial Ave               7632 Marbach Rd
Po Box Box 1000                   San Antonio, TX 78221-2002        San Antonio, TX 78227-1617
Memphis, TN 38148-0001



RG AUTO SALES                     River City Auto Title             ROADRUNNER SERVICES LLC
3716 Ocee St                      9920 San Pedro Ave                Po Box 849
Houston, TX 77063-5414            San Antonio, TX 78216-4436        Hendersonvlle, TN 37077-0849




ROSENTHAL PAUERSTEIN              S.A. KEY MAKERS CO.               Sam's Club Office
SANDOLOSKI AGATHER                DBA SURE-LOCK AND SAFE            930 S Kimball Ave
755 EAST MULBERRY, STE 200        8034 Culebra Rd Ste 512           Southlake, TX 76092-9021
San Antonio, TX 78212             San Antonio, TX 78251-1897



SAN ANTONIO AUTO                  San Antonio Water Systems         SAREKON LLC
AUCTION                           Attn: Bankruptcy Dept             610 Terminal Way
13510 Toepperwein Rd              Po Box 2449                       Costa Mesa, CA 92627-3616
Live Oak, TX 78233-4004           San Antonio, TX 78298-2449



SECURED AUTO                      SESA Collision LLC                Shell
103 Chattington Ct                11630 Old Corpus Christi Hwy      Po Box 9001015
San Antonio, TX 78213-2610        San Antonio, TX 78223-9358        Louisville, KY 40290-1015
      24-51135-cag Doc#1 Filed 06/20/24 Entered 06/20/24 08:56:53 Main Document Pg 13 of 17


SIGNS AND PRINTING SA                  SINCLAIR BROADCAST            SNYDER SALVAGE
4223 Centergate St                     10706 Beaver Dam Rd           Po Box 32
San Antonio, TX 78217-4802             Cockeysville, MD 21030-2207   Holland, TX 76534-0032




SOUTH PLAINS TOWING, LLC               SOUTHWAY FORD                 Southwest Fire Protection
Po Box 64368                           7979 S Ih 35                  Po Box 701490
Lubbock, TX 79464-4368                 San Antonio, TX 78224-1334    San Antonio, TX 78270-1490




SPIREON INC                            STEPHEN LEE BATES             STEVE HARRISON
18881 Von Karman Ave Ste 1500          631 106th St                  3521 57th St
Irvine, CA 92612-1582                  Arlington, TX 76011-5328      Lubbock, TX 79413-4720




SURGO CONSTRUCTION                     T7 ENTERPRISES                TAKE 5
SERVICES                               dba RELIABLE TIRE DISPOSAL    440 S Church St Ste 700
dba SURGO AUTOMOTIVE                   3345 E State Highway 29       Charlotte, NC 28202-2059
6446 San Pedro Ave                     Burnet, TX 78611-4782
San Antonio, TX 78216-7211


Tarco Industries, Inc                  TEXAS AUTO CARRIERS           TEXAS BALLOON
1891 Goodyear Ave Ste 603              5765 Bicentennial St          DISTRIBUTOR
Ventura, CA 93003-8003                 San Antonio, TX 78219-3005    12004 Colwick St
                                                                     San Antonio, TX 78216-2719



Texas Comptroller of Public            TEXAS FILTER SERVICE INC      TEXAS MUTUAL INSURANCE
Account                                10276 Robinson Dr             CO
Attn: Bankruptcy                       Tyler, TX 75703-3417          2200 Aldrich St
Po Box 149359                                                        Austin, TX 78723-3474
Austin, TX 78714-9359


TEXAS TOWING                           The Smeberg Law Firm          THOMAS HOLSTEIN
422 Steves Ave                         4 Imperial Oaks               DBA LONE STAR AUTO LOCKSMITH
San Antonio, TX 78204-2344             San Antonio, TX 78248-1609    8007 Copper Trail
                                                                     San Antonio, TX 78244



Thurbert Ray Stout                     TIREHUB LLC                   Trustmark Voluntary Benefit
dba N. University Muffler & Radiator   1 Ravinia Dr Ste 1300         Sol., Inc.
3618 34th St                           Atlanta, GA 30346-2128        75 Remittance Dr Dept 1791
Lubbock, TX 79410-2834                                               Chicago, IL 60675-1791



Uber Technologies, Inc.                ULTRA FLEET SERVICE           UniFirst Uniform Services -
1725 3rd St                            943 Lee Trevino               San Antonio
San Francisco, CA 94158-2203           San Antonio, TX 78221-3237    3047 E Commerce St
                                                                     San Antonio, TX 78220-1036



UNITEDHEALTHCARE                       UNITEDHEALTHCARE LIFE         Unum
INSURANCE COMAPNY                      INSURANCE                     6 Concourse Pkwy Ste 2700
Po Box 94017                           Po Box Box 860511             Atlanta, GA 30328-6186
Palatine, IL 60094-4017                Minneapolis, MN 55486-0001
     24-51135-cag Doc#1 Filed 06/20/24 Entered 06/20/24 08:56:53 Main Document Pg 14 of 17


UP AND GONE RECOVERY             Velda Folkner                     Waste Connections
216 S Skyline Ct                 dba Drivers Edge Car Audio        dba CAPROCK WASTE
Cresson, TX 76035-5807           227 Ave Q                         P.O. BOX 2803
                                 Lubbock, TX 79415                 Lubbock, TX 79408



WASTE MANAGEMENT                 WEST LOOP MITSUBISHI              WILLIAM ROSS JONES
800 Capitol St Ste 3000          7007 Nw Loop 410                  15002 Spring Star St
Houston, TX 77002-2945           San Antonio, TX 78238-4115        San Antonio, TX 78247-1630




WORLD CAR HYUNDAI KIA            XL Parts LLC
12115 N Ih 35                    2527 Willowbrook Rd.
San Antonio, TX 78233-4209       Dallas, TX 75220
24-51135-cag Doc#1 Filed 06/20/24 Entered 06/20/24 08:56:53 Main Document Pg 15 of 17
24-51135-cag Doc#1 Filed 06/20/24 Entered 06/20/24 08:56:53 Main Document Pg 16 of 17
24-51135-cag Doc#1 Filed 06/20/24 Entered 06/20/24 08:56:53 Main Document Pg 17 of 17
